Case 1:09-Cv-00597-LI\/|B-TCB Document 41-17 Filed 10/23/09 Page 1 of 3 Page|D# 750

EXHlBIT P

Case 1:09-cv-00597-LI\/|B-TCB Document 41-17 Filed 10/23/09 Page 2 of 3 Pad}é‘|$§#l'/‘%f

Roth, Melissa R.

From: Candess Hunter [candess@hhy|aw.com]
Sent: Thursday, October 15, 2009 2:01 PM
To: Dickinson, Miche|le J.

Subject: RE: FW: Re: NE| |aptop

llliiche||el lsabel is out of the othce today, but l saw this emai] and must respond You were informed on
September 10 that NE| was in possession of Joe's |aptop, that it had no NEI data on it and that Joe wanted it back
immediately The laptop was in this building in AZ, but you and NEl refused to return it, and to make matters
worse, NE| removed it from the building and from Arizona (interstate transportation of stolen goods). Now over a
month |ater, you finally send this emai|, acknowledging that everything Joe told you about the |aptop was true. Let
me make myself clearl you are holding stolen property. The police are being notiied. You can make all of the
excuses that you want to, but continuing to hold someone else's property after they have demanded its return is
theftl Look it up.

Regarding NE|'s computer, we have tried to return it to youl but you have not agreed to accept it. We tried to
deliver it to NE| right here in the building (as they are moving out) but they refused itl claiming they had to talk to
"their |awyer‘ hrst. iW|LL NOT KEEP TH|S CO|V|PUTER |N TH|S OFF|CE FOR ANOTHER DAY. |t‘s your
choice. either NE| accepts it downstairs or l will personally deliver it to the DLA Piper oi"Hce at 1 pm AZ time
today Your choice |fl don't hear from you in the next two hoursl l will make the choice for you.

Candess J. Hunterl Esq.

HUNTER, HUMPHREY & YAV|TZ, PLC
2633 E indian School Rd, #440
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hunter@hhylaw.com
mvw.hhy|aw.com

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intended recipient please contact the sender and delete and destroy all copies Thank you.

----- Original Nlessage »----
From: "Dickinson, Nliche||e J."
To:

Sent: 10114/2009 5:31P|Vi
Subject: Re: NE| laptop

lsabc|,

Our computer consultants have determined that there is no NEI data on the laptop that Joe returned to NEI a year ago.
Accordingiy, we are prepared to make arrangements for the exchange of the laptops and imaging oi` the tower. Please advise
as to when Joe can get the tower out of storage t`or imaging so that we can set this up.

Michelle J. Dickinson

DLA Piper LLP (uS)

6225 Smith Avenue

Baltimorc, Maryland 212()9-36()0
(4l0) 580-4137 Direct Phone
(4|0) 580-3 137 Dircct Fax

10/23/2009

Case 1:09-cv-00597-LI\/|B-TCB Document 41-17 Filed 10/23/09 Page 3 of 3 Pageil|§gj§izz

michelle.dickinson@dlapiper.com

ATTORN EY WORK PRODUCT

----- Original Message -----

From: isabel M I-lumphrey <isabel@hhylaw.com>
To‘. Dickinson, Michel|e J.

Sent: Wed Oct 14 14:49:12 2009

Subject: RE: NEl laptop

Michelle, we are not comfortable continuing to hold onto NEl's laptop. l repeatedly tried to get instructions from you to
return it1 and you would not give me the name of someone at NEI authorized to accept it. You said you would send a
computer consultant last week to pick it up, but we have heard nothing We just sent a staff member downstairs to NEI's
office to return it, and they refused to accept it. If you don't make other arrangements by the end of today, we will put the
iaptop in a FedEx box and ship it to you.

in the meantime, Joe has contacted police regarding NEI's continued refusal to return his laptop.

isabel M. i-lumphrey, Esq.

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